Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 1 of 24 - Page ID#: 1396



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

 REPUBLIC SERVICES, INC.,                 )
                                          )
                Plaintiff,                )   CIVIL ACTION NO. 5:03-494-KSF
                                          )
 V.                                       )
                                          )
 LIBERTY MUTUAL INSURANCE                 )
 COMPANY, et al.,                         )        SECOND AMENDED COMPLAINT
                                          )
                Defendants.               )

                                 *     *    *      *    *
        Comes     now      the       Plaintiff,     REPUBLIC     SERVICES,     INC.

 (“Republic”), by and through counsel, and for its Second Amended

 Complaint       against     the      Defendants     LIBERTY    MUTUAL   INSURANCE

 COMPANY, LIBERTY MUTUAL ACQUISITION COMPANY f/k/a LIBERTY MUTUAL

 FIRE    INSURANCE      COMPANY,        LIBERTY     INSURANCE   CORPORATION,      LM

 INSURANCE CORPORATION, THE FIRST LIBERTY INSURANCE CORPORATION

 and HELSMAN MANAGEMENT SERVICES, INC. (hereinafter collectively

 the “Liberty Companies”), states as follows:

                        REITERATION AND INCORPORATION
                     BY REPUBLIC OF VERIFIED COMPLAINT:

        1-62.       Republic         reiterates    and   incorporates    herein   by

 reference numerical Paragraphs 1-62 of the Verified Complaint as

 if set forth fully herein and further alleges as follows:
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 2 of 24 - Page ID#: 1397



                                  COUNT FOUR:
                              BREACH OF CONTRACT

        63.   Republic      reiterates       and    incorporates          herein   by

 reference numerical Paragraphs 1-62 of the Verified Complaint as

 if set forth fully herein.

        64. The Liberty Companies acted as the agents of Republic

 in handling, administering and managing the Workers Compensation

 Program.

        65. The       Liberty        Companies           accepted         substantial

 consideration from Republic for the services and coverages as

 alleged in the Verified Complaint, including in the handling,

 administration       and   management       of    the     Workers       Compensation

 Program.

        66. The Liberty Companies thereby agreed, either expressly

 or impliedly, to undertake certain contractual obligations and

 duties in favor of Republic in exchange therefore.

        67. The contractual duties and obligations of the Liberty

 Companies include, but are not limited to, the following:

              A.    To    properly    handle,      administer      and    manage   the

              Workers Compensation Program;

              B.    To properly manage and distribute funds entrusted

              to    the     Liberty      Companies         under     the      Workers

              Compensation Program;




                                         2
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 3 of 24 - Page ID#: 1398



              C.    To prevent Republic from incurring liability or

              premiums,       charges     and    fees      under     the      Workers

              Compensation      Program    as    a   result    of    the    acts   and

              omissions of the Liberty Companies;

              D.    To properly calculate the bonus/penalty under the

              “Partnership      Agreement”      to   the      2000   fiscal       year,

              covering injuries arising or occurring between July 1,

              2000, and June 30, 2001, of the Workers Compensation

              Program;

              E.    To conduct timely, adequate, reasonable and good

              faith investigations of all claims;

              F.    To conduct timely, adequate, reasonable and good

              faith surveillance on all claims where appropriate;

              G.    To conduct timely, adequate, reasonable and good

              faith evaluations of all claims;

              H.    To   implement      and    use   an   action     plan    for    all

              claims     to   determine       coverage,    compensability,         and

              damages;

              I.    To conduct timely, adequate, reasonably and good

              faith follow-up investigation on all claims where such

              follow-up investigation is necessary or appropriate;

              J.    To   timely,    adequately,       reasonably      and    in    good

              faith settle of all claims;




                                          3
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 4 of 24 - Page ID#: 1399



              K.      To obtain all necessary releases and waivers upon

              settlement of a claim;

              L.      To   pay      only     legitimate         claims     within        the

              authority provided by Republic;

              M.      To   periodically          and    consistently       monitor      the

              reserves so that the reserves accurately reflect the

              amount of money paid out and the amount of money that

              would be paid out for future expenses;

              N.      To   timely,     adequately,       reasonably       and     in   good

              faith    adjust    the    reserves        to   reflect     the    realistic

              value of each claim;

              O.      To minimize the number of litigated claims;

              P.      To   timely,     adequately,       reasonably       and     in   good

              faith evaluate all claims before entering settlements;

              Q.      To periodically, at reasonably time periods, and

              consistently          monitor       all        claims      files,        using

              calendared deadlines and repeating intervals to follow

              up on investigation and action plans;

              R.      To timely and accurately update all claims files

              with notes and action plans;

              S.      To   timely      and        accurately      communicate           with

              Republic regarding the status of claims;

              T.      To   timely    and   accurately         communicate       with    the

              injured employee and any third parties;


                                             4
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 5 of 24 - Page ID#: 1400



              U.    To provide an adequate defense to claims;

              V.    To     conduct       meaningful         claims     reviews     with

              Republic;

              W.    To     timely    and       accurately          communicate      with

              Republic regarding matters of settlement and setting

              of reserves;

              X.    To discuss with Republic the status of all claims

              in litigation;

              Y.    To    disclose       the    Liberty        Companies’        workers

              compensation        claims       practices       handling         internal

              policies, procedures, and guidelines;

              Z.    To    refer   each     claim     to    competent    and     adequate

              legal counsel to protect Republic’s interests;

              AA.   To regularly communicate with said legal counsel

              and    to     accurately         and        timely     document     those

              communications and the status of litigation;

              BB.   To hire competent and adequate medical defense

              doctors or advisors to protect Republic’s interests;

              CC.   To timely request all necessary medical treatment

              and medical evaluations of claimants;

              DD.   To process claims fairly with a good faith regard

              toward their impact on Republic’s interests;

              EE.   To identify and pursue subrogation against third

              parties;


                                           5
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 6 of 24 - Page ID#: 1401



              FF.   To   provide     Republic         with    timely    credits      on

              subrogation recoveries;

              GG.   To provide Republic with experienced, competent

              and adequately-trained claims adjusters;

              HH.   To provide appropriate training for all claims

              personnel;

              II.   To have the Liberty Companies’ claims personnel

              keep regular diaries for properly monitoring claims

              and   otherwise     property     and     adequately      document    all

              activities related to each claim file;

              JJ.   To avoid unnecessary delays in closing claims;

              KK.   To   make   timely    payments       to    Republic’s    injured

              employees;

              LL.   To limit the number of angry claimants by working

              with Republic in resolving all claims;

              MM.   To   handle     the       claim    files     consistent        with

              Republic’s own guidelines;

              NN.   To   work   closely       with    Republic’s       personnel    in

              coordinating claims and reducing claims in the future;

              OO.   To   properly    defend      Republic      in   every    workers

              compensation claims;

              PP.   To permit Republic to review and audit all claims

              files and to access all claims data and information;




                                          6
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 7 of 24 - Page ID#: 1402



              QQ.     To    disclose      information        to    Republic      regarding

              compensation claims against it for auditing purposes;

              RR.     To    avoid     unnecessary       delays      in    defending      or

              otherwise closing out claims;

              SS.     When setting the reserves, to consider the impact

              that     those      reserves       had    on    Republic’s         financial

              situation and the impairment of Republic’s capital;

              TT.     When setting the reserves, to consider the impact

              that those reserves would have on Republic’s future

              workers’ compensation premiums, including those that

              might        be   charged     in    the    future      by    the     Liberty

              Companies;

              UU.     To timely, adequately, reasonably and in good

              faith    consider       the   advice      of   its    own    attorneys    or

              agents;

              VV.     To accurately and fairly set Republic’s premium

              rates based on the true claims;

              WW.     To    timely,      adequately,     reasonable        and    in   good

              faith    accept       or    deny   claims      within       the    statutory

              period provided by state law;

              XX.     To not modify or conceal the Liberty Companies’

              reserve practices, or otherwise maximize the Liberty

              Companies’ receipts at the expense of Republic;




                                             7
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 8 of 24 - Page ID#: 1403



              YY.     To disclose any changes or modifications to the

              Liberty      Companies’            workers   compensation         claims

              handling practices, procedures and guidelines;

              ZZ.     To contain Republic’s costs and expenses of under

              the Workers’ Compensation Program;

              AAA. To timely and properly document all claims files;

              BBB. To      not     receive       the   benefit    of    the     Liberty

              Companies’ contractual relationships with third party

              risk managers, attorneys and others whose knowledge

              and experience in workers’ compensation matters could

              enable Republic to realize a substantial savings in

              premium dollars;

              CCC. To protect the financial interests of Republic;

              and

              DDD.    To   economically,          efficiently    and    in    the    best

              interest of Republic expend funds of Republic and not

              to expend funds of Republic to the Liberty Companies

              which    were      duplicative,      unnecessary,    or    were       to   be

              included as a part of fixed charges paid by Republic

              to the Liberty Companies.

        68. The Liberty Companies have breached their contractual

 duties and obligations to Republic.

        69. As a result of the Liberty Companies’ breaches of their

 contractual duties and obligations, Republic has suffered and


                                             8
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 9 of 24 - Page ID#: 1404



 incurred damages, including, but not limited to: (i) excessive

 payments       to    claimants     for     indemnity,       medical     and/or   other

 expenses under the Workers Compensation Program, (ii) late fees,

 interest and penalties incurred by the Liberty Companies but

 charged to Republic, (iii) excessive payments to the Liberty

 Companies      for    premiums,     charges       and    fees,   (iv)    payments       in

 excess of the aggregate self-retention for the 1998-1999 fiscal

 year,    (v)    excessive       payments    to    the     Liberty   Companies      as    a

 “Bonus” under the Partnership Agreement for the 2000-2001 fiscal

 year,    (vi)       increased     premiums,       (vii)     wrongful    drawdown        on

 Republic’s letter(s) of credit; and (viii) impairment of the

 financial capital of Republic.

                                      COUNT FIVE
                                      NEGLIGENCE

        70. Republic       reiterates            and     incorporates      herein        by

 reference numerical Paragraphs 1-62 of the Verified Complaint

 and Paragraphs 63-69 of this Second Amended Complaint as if set

 forth fully herein.

        71. The Liberty Companies acted as the agents of Republic

 in handling, administering and managing the Workers Compensation

 Program.

        72. The         Liberty       Companies            accepted        substantial

 consideration from Republic for the services and coverages as

 alleged in the Verified Complaint, including in the handling,



                                             9
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 10 of 24 - Page ID#:
                                    1405


administration        and     management             of    the        Workers        Compensation

Program.

      73. As a result of this relationship, the Liberty Companies

had   certain     common      law       obligations          and      duties     in       favor   of

Republic.

      74. The      duties    and     obligations            of     the    Liberty         Companies

include, but are not limited to, those duties and obligations

set forth supra in Paragraph 67.

      75. The Liberty Companies negligently breached their duties

and obligations to Republic.

      76. As      a   result        of     this        negligence          by       the    Liberty

Companies,        Republic         has     suffered             and      incurred          damages,

including,      but   not     limited           to:       (i)    excessive           payments      to

claimants for indemnity, medical and/or other expenses under the

Workers    Compensation           Program,       (ii)       late       fees,     interest         and

penalties    incurred        by    the     Liberty         Companies          but     charged      to

Republic, (iii) excessive payments to the Liberty Companies for

premiums,    charges        and    fees,        (iv)      payments       in     excess      of    the

aggregate    self-retention              for    the       1998-1999       fiscal       year,      (v)

excessive payments to the Liberty Companies as a “Bonus” under

the Partnership Agreement for the 2000-2001 fiscal year, (vi)

increased      premiums,          (vii)        wrongful         drawdown        on     Republic’s

letter(s)    of    credit;        and     (viii)       impairment         of    the       financial

capital of Republic.


                                                10
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 11 of 24 - Page ID#:
                                    1406


                               COUNT SIX:
                       BREACH OF IMPLIED DUTY OF
                GOOD FAITH AND FAIR DEALINGS/BAD FAITH

      77. Republic        reiterates    and      incorporates       herein    by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-76 of this Second Amended Complaint as if set

forth fully herein.

      78. The Liberty Companies acted as the agents of Republic

in handling, administering and managing the Workers Compensation

Program.

      79. The       Liberty       Companies            accepted     substantial

consideration from Republic for the services and coverages as

alleged in the Verified Complaint, including in the handling,

administration      and    management       of   the     Workers   Compensation

Program.

      80. The Liberty Companies owed certain implied obligations

and duties of good faith and fair dealings to Republic.

      81. The    duties    and   obligations      of    good   faith   and   fair

dealings of the Liberty Companies include, but are not limited

to, those duties and obligations set forth supra in Paragraph

67.

      82. The Liberty Companies have breached these duties and

obligations of good faith and fair dealings to Republic and

otherwise acted in bad faith.




                                       11
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 12 of 24 - Page ID#:
                                    1407


      83. As      a    result       of    these       breaches     of    the       duties    and

obligations of good faith and fair dealings and bad faith by the

Liberty Companies, Republic has suffered and incurred damages,

including,     but      not     limited         to:     (i)    excessive          payments    to

claimants for indemnity, medical and/or other expenses under the

Workers    Compensation            Program,      (ii)     late     fees,      interest       and

penalties    incurred         by    the     Liberty       Companies      but       charged    to

Republic, (iii) excessive payments to the Liberty Companies for

premiums,    charges       and      fees,       (iv)    payments    in       excess    of    the

aggregate    self-retention              for    the     1998-1999       fiscal      year,    (v)

excessive payments to the Liberty Companies as a “Bonus” under

the Partnership Agreement for the 2000-2001 fiscal year, (vi)

increased      premiums,         (vii)         wrongful       drawdown       on     Republic’s

letter(s)    of       credit;      and    (viii)       impairment       of   the     financial

capital of Republic.

                                    COUNT SEVEN:
                              BREACH OF FIDUCIARY DUTY

      84. Republic         reiterates             and     incorporates             herein     by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-83 of this Second Amended Complaint as if set

forth fully herein.

      85. The Liberty Companies acted as the agents of Republic

in handling, administering and managing the Workers Compensation

Program.



                                                12
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 13 of 24 - Page ID#:
                                    1408


      86. The         Liberty       Companies               accepted       substantial

consideration from Republic for the services and coverages as

alleged in the Verified Complaint, including in the handling,

administration        and     management       of     the     Workers     Compensation

Program.

      87. The        Liberty      Companies           owed      certain      fiduciary

obligations and duties to Republic.

      88. These fiduciary duties and obligations of the Liberty

Companies include, but are not limited to, those duties and

obligations set forth supra in Paragraph 67.

      89. The       Liberty    Companies       have    breached    these     fiduciary

duties and obligations to Republic.

      90. As a result of these breaches of fiduciary obligations

and duties by the Liberty Companies, Republic has suffered and

incurred damages, including, but not limited to: (i) excessive

payments      to    claimants     for     indemnity,         medical    and/or   other

expenses under the Workers Compensation Program, (ii) late fees,

interest and penalties incurred by the Liberty Companies but

charged to Republic, (iii) excessive payments to the Liberty

Companies     for    premiums,     charges      and     fees,    (iv)     payments    in

excess of the aggregate self-retention for the 1998-1999 fiscal

year,   (v)    excessive       payments    to    the    Liberty    Companies     as    a

“Bonus” under the Partnership Agreement for the 2000-2001 fiscal

year,   (vi)       increased     premiums,      (vii)        wrongful     drawdown    on


                                          13
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 14 of 24 - Page ID#:
                                    1409


Republic’s letter(s) of credit; and (viii) impairment of the

financial capital of Republic.

                               COUNT EIGHT:
               FRAUD and/or INTENTIONAL MISPREPRESENTATION
                    and/or NEGLIGENT MISREPRESENTATION

       91. Republic        reiterates         and     incorporates         herein     by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-90 of this Second Amended Complaint as if set

forth fully herein.

       92. At    all     times   herein       alleged,       upon     information    and

belief, Defendant Liberty Mutual Insurance Company was the agent

for and/or alter ego of Defendants Liberty Mutual Acquisition

Company   f/k/a       Liberty    Mutual     Fire     Insurance       Company,    Liberty

Insurance      Corporation,       LM     Insurance      Corporation,       The     First

Liberty   Insurance       Company,      and      Helmsman     Management       Services,

Inc.    Defendant Liberty Mutual Insurance Company, acting within

the    scope    and    authority       of   this     agency     relationship,       made

materially      false      misrepresentations              regarding     the     Liberty

Companies’      workers     compensation            claims     handling    practices,

procedures, and guidelines by which the Liberty Companies would

handle, administer and manage the Workers Compensation Program

for Republic, including, but not limited to, those duties and

obligations     set     forth    in    Paragraph      67     supra.     Specifically,

Defendant      Liberty    Mutual       Insurance      Company       misrepresented    to

Republic that the Liberty Companies would handle, administer and


                                            14
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 15 of 24 - Page ID#:
                                    1410


manage     the     Workers         Compensation          program      by    implementing,

following,       using,      and    abiding       by    those     workers    compensation

claims handling practices, procedures, and guidelines standard

in   the   industry,         requested       by       Republic,      and   set      forth    in

Paragraph 67 supra.

      93. Defendant           Liberty       Mutual       Insurance     Company,        acting

within     the    scope       and      authority         of    the    foregoing        agency

relationship,           knowingly,          intentionally,             recklessly,           or

negligently made these misrepresentations.

      94. Defendant           Liberty       Mutual       Insurance     Company,        acting

within     the    scope       and      authority         of    the    foregoing        agency

relationship, made these misrepresentations to induce Republic

to retain the Liberty Companies to handle, administer and manage

the Workers Compensation Program for Republic.

      95. Republic relied and acted upon those misrepresentations

in   retaining         and    paying      the        Liberty    Companies      to     handle,

administer       and    manage      the     Workers       Compensation       Program        for

Republic

      96. As       a     result        of       Republic’s        reliance       upon       the

misrepresentations            of     Defendant          Liberty       Mutual        Insurance

Company, acting within the scope and authority of the foregoing

agency relationship, Republic has suffered and incurred damages,

including,       but    not     limited      to:       (i)     excessive     payments        to

claimants for indemnity, medical and/or other expenses under the


                                                15
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 16 of 24 - Page ID#:
                                    1411


Workers   Compensation          Program,      (ii)       late     fees,       interest      and

penalties    incurred      by    the     Liberty        Companies       but       charged    to

Republic, (iii) excessive payments to the Liberty Companies for

premiums,    charges    and      fees,       (iv)      payments    in       excess    of    the

aggregate    self-retention           for    the       1998-1999       fiscal      year,    (v)

excessive payments to the Liberty Companies as a “Bonus” under

the Partnership Agreement for the 2000-2001 fiscal year, (vi)

increased    premiums,        (vii)         wrongful      drawdown           on    Republic’s

letter(s)    of   credit;       and    (viii)       impairment         of    the   financial

capital of Republic.

                                    COUNT NINE:
                                 UNJUST ENRICHMENT

      97. Republic      reiterates             and       incorporates             herein     by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-96 of this Second Amended Complaint as if set

forth fully herein.

      98. The Liberty Companies had an obligation to not incur

unreasonable      costs,        expenses,          indemnity       payments,          medical

payments,    penalties,          interest         or     fees     in        satisfying      its

obligations and duties, as set forth in Paragraph 67 supra, in

connection with the handling, administration and management of

claims under the Workers Compensation Program.

      99. The     Liberty       Companies          incurred      unreasonable          costs,

expenses,    indemnity          payments,         medical       payments,          penalties,



                                             16
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 17 of 24 - Page ID#:
                                    1412


interest or fees in handling, administering, and managing the

Workers      Compensation        Program     by       failing       to    perform      their

obligations and duties, as set forth in Paragraph 67 supra.

      100. The Liberty Companies charged or passed on to Republic

these unreasonable costs, expenses, indemnity payments, medical

payments, penalties, interest or fees.

      101.    The    Liberty      Companies       have      failed       and     refused    to

reimburse Republic for any of the unreasonable costs, expenses,

indemnity     payments,      medical      payments,         penalties,         interest    or

fees paid by Republic but incurred by the Liberty Companies.

      102.    The Liberty Companies also shifted claims handling,

administration and management functions to their own in-house

legal     counsel,       nurse    care      managers        and     other        departments

resulting in Republic paying to the Liberty Companies excessive

premiums, charges and fees.

      103.    By    reason   of     the    foregoing,         the   Liberty       Companies

have been unjustly enriched at the expense of Republic, and

Republic has suffered and incurred damages, including, but not

limited to: (i) excessive payments to claimants for indemnity,

medical    and/or    other       expenses    under      the     Workers        Compensation

Program, (ii) late fees, interest and penalties incurred by the

Liberty    Companies       but    charged        to   Republic,          (iii)    excessive

payments     to    the   Liberty    Companies         for    premiums,         charges     and

fees, (iv) payments in excess of the aggregate self-retention


                                            17
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 18 of 24 - Page ID#:
                                    1413


for the 1998-1999 fiscal year, (v) excessive payments to the

Liberty Companies as a “Bonus” under the Partnership Agreement

for the 2000-2001 fiscal year, (vi) increased premiums, (vii)

wrongful drawdown on Republic’s letter(s) of credit; and (viii)

impairment of the financial capital of Republic.




                                      18
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 19 of 24 - Page ID#:
                                    1414


                             COUNT TEN:
         INDEMNITY-PAYMENTS EXCEEDING SELF-RETENTION LIMITS

       104.    Republic     reiterates            and    incorporates         herein   by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-103 of this Second Amended Complaint as if set

forth fully herein.

       105.    The Workers Compensation Program for the 1998-1999

fiscal year, covering injuries arising from July 1, 1998 through

June   30,     1999,    provides      for    an     aggregate        self-retention    by

Republic in the amount of $12,500,000.00 or a rate of $4.34 per

$100   of     audited    Workers      Compensation       and     Employers      Liability

payroll, whichever is greater.

       106.    The Workers Compensation Program for the 1999-2000

fiscal year, covering injuries arising from July 1, 1999 through

June   30,     2000,    provides      for    an     aggregate        self-retention    by

Republic in the amount of $19,000,000.00 or a rate of $4.56 per

$100    of    audited     Workers      Compensation            and   Nevada     Employers

Liability      excluding        all   other       Monopolistic        States     payroll,

whichever is greater.

       107.    The      total     costs      incurred,          including       expenses,

indemnity and reserves, by Republic for the 1998 fiscal year,

covering injuries arising from July 1, 1998 through June 30,

1999, and the 1999 fiscal year, covering injuries arising from

July    1,     1999     through       June    30,       2000     under    the     Workers



                                             19
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 20 of 24 - Page ID#:
                                    1415


Compensation     Program,      are    in    excess         of    the   aggregate     self-

retention limit for the respective period.

       108.   Republic        is     entitled         to        reimbursement        and/or

indemnity from the Liberty Companies for any and all monies paid

exceeding the aggregate self-retention on claims made under the

1998 fiscal year, covering injuries arising from July 1, 1998

through   June    30,    1999,      and    the    1999      fiscal      year,   covering

injuries arising from July 1, 1999 through June 30, 2000.

                             COUNT ELEVEN:
                      INDEMNITY-EXCESSIVE “BONUS”
                 PAYMENTS UNDER PARTNERSHIP AGREEMENT

       109.   Republic     reiterates           and    incorporates           herein    by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-108 of this Second Amended Complaint as if set

forth fully herein.

       110.   As part of the Workers Compensation Program for the

2000-2001 fiscal year, covering injuries arising from July 1,

2000 through June 30, 2001, Republic and the Liberty Companies

also   entered   into    the       2000   Workers’         Compensation      Partnership

Agreement (hereinafter the “Partnership Agreement”).

       111.   The goal of the “Partnership Agreement” was for the

Liberty   Companies      to    partner      with      Republic         to   reduce   total

workers’ compensation costs to Republic.




                                           20
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 21 of 24 - Page ID#:
                                    1416


      112.    This Partnership Agreement provided that the Liberty

Companies     would     be   entitled/subject       to    a    bonus/penalty        based

upon ultimate paid loss rate.

      113.     The     bonus/penalty      to   be    paid       by/to       the   Liberty

Companies under the Partnership Agreement was to be determined

at three dates, approximately 18, 30 and 42 months, after the

effective date of the Partnership Agreement, and net of the

previous calculation for the 30 and 42 month evaluation dates.

      114.    In the event a bonus was to be paid to the Liberty

Companies, the bonus to be was to be 20% of the savings between

actual projected ultimate workers compensation paid losses and

the   lower   boundary       of   the   guaranteed       range.       In   the    event   a

penalty was to be paid by the Liberty Companies, the penalty was

fixed at a maximum of $110,625.

      115.    The Liberty Companies were paid a bonus under the

Partnership Agreement based upon its calculation at the end of

the 18 month period. There has been no determination of the

bonus/penalty to be paid to/by the Liberty Companies for the 30

or 42 month periods.

      116. The         total      incurred     costs          under        the    Workers

Compensation Program for the 2000-2001 fiscal year now exceed

the projected ultimate paid loss rate.

      117.    As   a    result,    in   addition     to    the    compensatory        and

punitive damages asserted elsewhere in the Verified Complaint


                                          21
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 22 of 24 - Page ID#:
                                    1417


and   Second      Amended      Complaint,      Republic    is    entitled    to

reimbursement and/or indemnity from the Liberty Companies for

any and all monies paid under the Partnership Agreement to the

Liberty Companies as a “bonus” and the Liberty Companies are

obligated to pay the maximum “penalty” to Republic under the

Partnership Agreement.

                                 COUNT TWELVE:
                               PUNITIVE DAMAGES

      118.     Republic     reiterates      and   incorporates     herein    by

reference numerical Paragraphs 1-62 of the Verified Complaint

and Paragraphs 63-117 of this Second Amended Complaint as if set

forth fully herein.

      119.   As   a   result    of   the    Liberty   Companies’   bad   faith,

acts, omissions, oppression, fraud, malice, breaches and willful

and wanton conduct alleged in the Verified Complaint and Second

Amended Complaint, Republic is entitled to punitive damages from

the Liberty Companies.

      WHEREFORE, Plaintiff, Republic Services, Inc., prays for

relief on its Verified Complaint and Second Amended Complaint

against Defendants, Liberty Mutual Insurance Company, Liberty

Mutual Acquisition Company f/k/a Liberty Mutual Fire Insurance

Company, Liberty Mutual Corporation, LM Insurance Corporation,

The First Liberty Insurance Corporation and Helmsman Management




                                       22
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 23 of 24 - Page ID#:
                                    1418


Services, Inc., jointly and severally, as agents of each other

and/or alter egos of each other, as follows:

      (1)    For a judgment in favor of Republic and against the

Liberty     Companies,    jointly     and    severally,    for   compensatory

damages in an amount to be determined at trial;

      (2)    For a judgment in favor of Republic and against the

Liberty     Companies,    jointly    and    severally,   for   incidental    and

consequential damages in an amount to be determined at trial;

      (3)    For a judgment in favor of Republic and against the

Liberty Companies, jointly and severally, for punitive damages

in an amount to be determined at trial;

      (4)    For a judgment in favor of Republic and against the

Liberty     Companies,    jointly     and    severally,    for   recovery     of

Republic’s     attorneys’    fees,    costs     and   expenses   incurred     in

obtaining the relief requested in the Verified Complaint and

Second Amended Complaint;

      (5)    For a trial by jury on all issues so triable;

      (6)    For prejudgment and postjudgment interest applicable;

and

      (7)    For   such   other     relief    to   which   Republic    may    be

properly entitled.




                                       23
Case: 5:03-cv-00494-KSF-JBT Doc #: 61 Filed: 02/28/06 Page: 24 of 24 - Page ID#:
                                    1419


                                             Respectfully submitted,

                                             /s/ ROBERT E. MACLIN, III, ESQ.
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                                             & KIRKLAND, PLLC
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                                             REPUBLIC SERVICES, INC.
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                                               24
